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          12

          13
                                                 UNITED STATES DISTRICT COURT
          14
                                              NORTHERN DISTRICT OF CALIFORNIA
          15
                                                         OAKLAND DIVISION
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                 LD, DB, BW, RH, and CJ, on behalf of            Case No. 4:20-cv-02254-YGR-JCS
          17     themselves and all others similarly situated,
          18                            Plaintiffs,              DECLARATION OF JOLENE BRADLEY IN
                                                                 SUPPORT OF UNITED DEFENDANTS’
          19            v.                                       JOINT LETTER SUBMISSION
                                                                 REGARDING DISCOVERY DISPUTE
          20     UNITED HEALTHCARE INSURANCE
                 COMPANY, a Connecticut Corporation,
          21     UNITED BEHAVIORAL HEALTH, a
                 California Corporation, and MULTIPLAN,
          22     INC., a New York Corporation,
          23                            Defendants.
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Gibson, Dunn &         DECLARATION OF JOLENE BRADLEY IN SUPPORT OF UNITED DEFENDANTS’ JOINT LETTER
Crutcher LLP
                                        SUBMISSION REGARDING DISCOVERY DISPUTE
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            1           I, Jolene Bradley, state and declare as follows:
            2           1.      I make this declaration in connection with the above-captioned litigation and
            3    Defendants United Healthcare Insurance Company’s (“UHC”) and United Behavioral Health’s
            4    (“UBH”) portion of a Joint Letter Brief Seeking Discovery Relief. I have personal knowledge of the
            5    facts set forth in this Declaration, and, if called as a witness, could and would testify competently to
            6    such facts under oath.
            7           2.      I am employed as Associate Director of Out-of-Network Programs at
            8    UnitedHealthcare. In this role, I am familiar with the matters and documents discussed herein.
            9           3.      In my capacity as Associate Director of Out-of-Network Programs, I have occasion to
          10     communicate with, and seek legal advice from, in-house counsel, including Courtney Lucas, Ellyn
          11     Fuchsteiner, Jessica Zuba, Scott Rees, Dixie Wilhite, and Susan Tully Abdo (among others)
          12     regarding responses and approaches to handling disputes with providers, plan members, plan
          13     sponsors, and government agencies and regulators. Among other things, I work with certain of these
          14     attorneys to provide input in connection with changes to company-wide policies and procedures
          15     relating to out-of-network programs. I am also sometimes asked to provide information to in-house
          16     counsel about how a claim is evaluated using an out of network program in connection with a
          17     pending claim or dispute.
          18            4.      For example, in UHC000013633 and UHC000013642, UHC in-house counsel Ellyn
          19     Fuchsteiner emailed my team in connection with an inquiry she had received from Voya, a plan
          20     sponsor, about the reimbursement afforded to a plan member in connection with treatment by an out-
          21     of-network provider. Given the context of this communication and the practice I outlined above, it is
          22     my understanding that Ellyn was asking for my input so that she could render legal advice about how
          23     to handle the communications with this plan sponsor.
          24            5.      In UHC000013785, I was asked to provide certain data at the request of UHC in-house
          25     counsel Courtney Lucas and Jessica Zuba in connection with a lawsuit that was pending at the time
          26     involving Progenity, a provider of out-of-network services. I understood from that request that they
          27     were seeking my input to render legal advice in connection with that ongoing litigation.
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                       DECLARATION OF JOLENE BRADLEY IN SUPPORT OF UNITED DEFENDANTS’ JOINT LETTER
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            1           6.      In UHC000015072, I was asked by UHC in-house counsel Scott Rees to provide input
            2    in connection with legal advice that had been requested of Scott Rees by members of our Out-of-
            3    Network Programs team relating to certain potential modifications to generic plan language to be
            4    used in certain summary plan descriptions or SPDs. I understood from that request that Scott was
            5    seeking my input in order to render legal advice concerning the proposed plan language
            6    modifications, which would be a company-wide, programmatic change.
            7           7.      In UHC000015276, I sought legal advice from United Health Group in-house counsel
            8    Dixie Wilhite. Specifically, I was seeking her opinion as to the legal implications that might follow if
            9    certain data fields had been accessed in connection with what we believed at the time to have been a
          10     data breach. Ms. Wilhite then provided an opinion in response to my request.
          11            8.      UHC000016128 and UHC000016133 were generated in response to a request from
          12     UnitedHealth Group employees about the preparation of a response to a list of concerns and issues
          13     raised by a plan sponsor, the Healthcare Association of New York (“HANYS”). During the course of
          14     the discussion, we were advised that certain issues HANYS had raised were legal in nature and
          15     should be routed to a legal point of contact for further analysis. My manager, Vice President for Out
          16     of Network Payment Strategy at UnitedHealth Group, Becky Paradise, also weighed in at one point
          17     on the e-mail chain and noted that in-house counsel Athena Tsakanikas had recently reviewed certain
          18     documents relating to the issue HANYS raised and provided her legal opinion on whether those
          19     documents supported the response that was contemplated to HANYS. I was not directly involved in
          20     these discussions but was copied on the communications and am familiar with the context in which
          21     these communications were being made.
          22            9.      In UHC000013597, I circulated a WebEx meeting invitation to members of my team
          23     in which I forwarded certain notes I had received from Marjorie Wilde, in-house counsel at
          24     MultiPlan. Marjorie had asked that I circulate to the team advice regarding the treatment of
          25     MultiPlan documents that implicate confidential and proprietary information, so that we could align
          26     on the proper methods of protecting such information in the event of litigation involving the United
          27     Defendants and/or MultiPlan.
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